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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CIBC Bank USA f/k/a The Private Bank and           )
Trust Company, as Administrative Agent             )
to all Lenders                                     )
                                                   )
                       Plaintiff,                  )    Civil Action No. 18-cv-3964
                                                   )
                 v.                                )
                                                   )    Judge John Z. Lee
JH Portfolio Debt Equities, LLC; JH Portfolio      )
Debt Equities 2, LLC; JH Portfolio Debt            )    Magistrate Judge Daniel G. Martin
Equities 4, LLC; and JH Reviver LLC,               )
                                                   )
                 Defendants.                       )

           Joint Motion to Strike the August 21, 2018 Date for an Evidentiary Hearing

       The parties, Plaintiff CIBC Bank USA f/k/a The Private Bank and Trust Company, as

Administrative Agent to all Lenders (“CIBC” or “Plaintiff”) and Defendants JH Portfolio Debt

Equities, LLC, JH Portfolio Debt Equities 2, LLC, JH Portfolio Debt Equities 4, LLC, and JH

Reviver LLC (“JH” or “Defendants”) (together with Plaintiff, the “Parties”), jointly request the

Court to strike the August 21, 2018, date for the evidentiary hearing regarding CIBC’s Motion

for Order Appointing Receiver (Doc. 8). In support of this agreed motion, the parties state as

follows:

       1.        On August 6, 2018, the Court granted CIBC’s unopposed motion for evidentiary

hearing and set the hearing for August 21, 2018. (Doc. 40.)

       2.        For several weeks, the parties have been engaged in negotiations toward a

forbearance agreement with respect to the Credit Agreement.
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       3.      The Parties entered into a Forbearance Agreement dated as of August 20, 2018

(the “Forbearance Agreement”). The execution of the Forbearance Agreement obviates the need

for an evidentiary hearing regarding CIBC’s Motion for Order Appointing Receiver.

       4.      Therefore, the Parties hereby request that this Court enter an order striking the

August 21, 2018 evidentiary hearing as moot. (Doc. 40.) Furthermore, the Plaintiff withdraws

as moot its Motion to Strike (Doc. 49) and withdraws without prejudice and with leave to refile

its Motion for Order Appointing Receiver. (Doc. 8.)

       WHEREFORE, Plaintiff CIBC Bank USA f/k/a The Private Bank and Trust Company, as

Administrative Agent to all Lenders and Defendants JH Portfolio Debt Equities, LLC, JH

Portfolio Debt Equities 2, LLC, JH Portfolio Debt Equities 4, LLC, and JH Reviver LLC jointly

request that this Court enter an order: (i) striking as moot the August 21, 2018 evidentiary

hearing (Doc. 40); (ii) withdrawing without prejudice as moot CIBC’s Motion for Order

Appointing Receiver (Doc. 8) with leave to refile; and, (iii) striking as moot Plaintiff’s Motion to

Strike (Doc. 49), and granting such other and further relief as this Court deems just and proper.

       Dated: August 20, 2018                         Respectfully submitted,


                                                      /s/    Edward S. Weil
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                                              /s/    Greg Shinall
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                                              JH Portfolio Debt Equities 2, LLC;
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                                              JH Reviver LLC
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